        Case 1:20-cr-00298-JPW Document 75 Filed 05/05/22 Page 1 of 2




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERCA,                  :   Criminal No. 1:20-CR-00298-2
                                          :
            v.                            :
                                          :
BENJAMIN GUTMAN,                          :
                                          :
            Defendant.                    :    Judge Jennifer P. Wilson
                                     ORDER

       AND NOW, on this 5th day of May, 2022, following a telephonic

presentence conference with counsel, IT IS ORDERED THAT:

  1.     A joint evidentiary hearing to determine the loss amount in this case is

         scheduled for July 18, 2022 at 9:30 a.m., in Courtroom 1 on the Ninth

         Floor of the Federal Building, Third and Walnut Streets, Harrisburg,

         Pennsylvania. Such hearing shall be conducted for docket numbers

         1:20-cr-00298-1 and 1:20-cr-00298-2.

  2.     In preparation for the evidentiary hearing, defense counsel may submit a

         brief regarding the objections to the presentence report and the loss

         amount in this case on or before June 20, 2022. The government may

         file a responsive brief on or before July 5, 2022.

  3.     The sentencing hearing in this case is scheduled for August 23, 2022 at

         10:00 a.m., in Courtroom 1 on the Ninth Floor of the Federal Building,

         Third and Walnut Streets, Harrisburg, Pennsylvania.


                                         1
     Case 1:20-cr-00298-JPW Document 75 Filed 05/05/22 Page 2 of 2




      a. Sentencing Briefs, Sentencing Memoranda, and Motion for

         Departure or Variance from the Sentencing Guidelines. To the

         extent that defense counsel is planning to file a sentencing brief,

         sentencing memorandum, or motion for departure or variance, the

         submission deadline is July 26, 2022. The government may file a

         responsive memorandum or any other submission on or before

         August 9, 2022.

      b. Recommendatory Letters. All letters of recommendation on behalf

         of the defendant shall be sent to the probation officer for submission

         to the court by no later than August 2, 2022. Letters are not to be sent

         directly to the court.

4.    Modification of Schedule. The schedule set forth in this order may be

      modified by the court sua sponte or for good cause shown.



                                          s/Jennifer P. Wilson
                                          JENNIFER P. WILSON
                                          United States District Court Judge
                                          Middle District of Pennsylvania




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